Case 2:05-cr-20148-.]DB Document 27 Filed 06/22/05 Page 1 of 2 Page|D 30

IN THE UNITED STATES DISTRICT COURT FI|.ED BY __% D.C.
FOR THE WES'I'ERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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UNITED sTATES oF AMERICA,

ROBERT Fi. Di THOL!O
CLEF{K‘ U.S. BIST. CT.
Plaintiff,

W.D. OF TN. MEMPH!S
vs .

No. 05-20148 Bv
GINGER SwEETEN,

Defendant.

ORDER WAIVING APPEARANCE

Upon motion of the defendant, consent of the United States and
for good cause Shown, it is hereby:

ORDERED, ADJUDGED AND DECREED that Ginger Sweeten'e appearance
at the June 23, 2005 report date is waived.

Entered this 2

day of Ju , 2005.

.`b NIEL B§EEN
nit d States District Judge

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'U*rts document entered on the docket sheet @
with F\ule 55 and!or 32(b) FRCrP on

 
 

 

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This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-20148 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

